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AO 245B (Rev. 06/05) Judgment in a Criminal Case: Sheet 1                                   (10192)


                 UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF ALABAMA
        UNITED STATES OF AMERICA                            JUDGMENT IN A CRIMINAL CASE
                  V.                                        (For Offenses Committed On or After November 1, 1987)

        JASON R. KELLEY                                     CASE NUMBER: 1:08-CR-00327-002
        a/k/a Jason Russell Kelley                          USM NUMBER: 10557-003

THE DEFENDANT:                                               Arthur J. Madden, Esquire
                                                                            Defendant's Attorney
       pleaded guilty to count(s) .
       pleaded nolo contendere to count(s) which was accepted by the court.
X      was found guilty on counts 1-82, 83-86, 88-96, 99, 101, 104,109, 113, 114, 117, 122, 124, 132,
137, 138, 140, 143, 146, 149, 152, 156, 158, 160, 163, 167, 171, 173, 176, 180, 183, 187, 189, 193, &
196 after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):
                                                           Date Offense              Count
Title & Section Nature of Offense                          Concluded                 No.(s)
21 USC § 846    Conspiracy   to distribute and dispense    8/31/2006                    1
                Schedule III controlled substances
                outside the usual course of
                professional practice and not for a
                legitimate medical purpose.



       The defendant is sentenced as provided in pages 2 through 7 of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984.

        The defendant has been found not guilty on count(s) .
X       Count(s) 87 was dismissed on the motion of the United States on .

         IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this
district within 30 days of any change of name, residence, or mailing address until all fines, restitution,
costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States attorney of any material change in the defendant's
economic circumstances.

                                                                    September 24, 2010
                                                                    Date of Imposition of Judgment

                                                                    /s/ Callie V. S. Granade
                                                                    UNITED STATES DISTRICT JUDGE

                                                                    September 28, 2010
                                                                    Date
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                                                                                                   Judgment 2
   AO 245B (Rev. 06/05) Judgment in a Criminal Case: Sheet 2 - Imprisonment
   Defendant: JASON R. KELLEY, a/k/a Jason Russell Kelley
   Case Number: 1:08-CR-00327-002

                                                IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
   imprisoned for a total term of ONE HUNDRED TWENTY (120) MONTHS, said term consists of 60
   months as to each of Counts 1-82; and 120 months as to each of counts 83-86, 88-95, 96, 99, 101,
   104,109, 113, 114, 117, 122, 124, 132, 137, 138, 140, 143, 146, 149, 152, 156, 158, 160, 163, 167, 171,
   173, 176, 180, 183, 187, 189, 193, & 196. All said terms are to be served concurrently.

                    Special Conditions:

            X      The court makes the following recommendations to the Bureau of Prisons: that the
            defendant be imprisoned at an institution where a residential, comprehensive, substance
            abuse treatment program is available

    X      The defendant is remanded to the custody of the United States Marshal.

           The defendant shall surrender to the United States Marshal for this district:
                   at       a.m./p.m. on      .
                   as notified by the United States Marshal.

           The defendant shall surrender for service of sentence at the institution designated by the Bureau
           of Prisons:
                   before 2 p.m. on       .
                    as notified by the United States Marshal.
                    as notified by the Probation or Pretrial Services Office.

                                                    RETURN
I have executed this judgment as follows:
_____________________________________________________________________________________
_____________________________________________________________________________________
_____________________________________________________________________________________

Defendant delivered on                     to                                    at _______________________

with a certified copy of this judgment.

                                                                              UNITED STATES MARSHAL


                                                                          By _____________________________
                                                                                 Deputy U.S. Marshal
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                                                                                                    Judgment 3

AO 245B (Rev. 06/05) Judgment in a Criminal Case: Sheet 3 - Supervised Release
Defendant: JASON R. KELLEY, a/k/a Jason Russell Kelley
Case Number: 1:08-CR-00327-002
                                      SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of 3 years on
Counts 1-82, 96, 99, 101, 104,109, 113, 114, 117, 122, 124, 132, 137, 138, 140, 143, 146, 149, 152,
156, 158, 160, 163, 167, 171, 173, 176, 180, 183, 187, 189, 193, & 196; and 4 years as to Counts 83-
86 and 88-95. All said terms are to run concurrently.

X Special Condition: The defendant shall participate in a program of testing and treatment for
drug and/or alcohol abuse as directed by the Probation Office.


        For offenses committed on or after September 13, 1994: The defendant shall refrain
        from any unlawful use of a controlled substance. The defendant shall submit to one drug
        test within 15 days of release from imprisonment and at least two periodic drug tests
        thereafter, as directed by the probation officer.

        The above drug testing condition is suspended based on the court’s determination that the defendant poses
        a low risk of future substance abuse. (Check, if applicable)

        The defendant shall register with the state sex offender registration agency in the state where the
        defendant resides, works, or is a student, as directed by the probation officer. (Check, if applicable)

        The defendant shall participate in an approved program for domestic violence. (Check, if applicable)

X       The defendant shall not possess a firearm, destructive device, or any other dangerous
        weapon.

If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution that remains unpaid at the commencement of the term
of supervised release in accordance with the Schedule of Payments set forth in the Criminal Monetary
Penalties sheet of this judgment. The defendant shall report to the probation office in the district to
which the defendant is released within 72 hours of release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.
The defendant shall not illegally possess a controlled substance.
The defendant shall comply with the standard conditions that have been adopted by this court
(Probation Form 7a).
The defendant shall also comply with the additional conditions on the attached page (if
applicable).


                                  See Page 4 for the
                       "STANDARD CONDITIONS OF SUPERVISION"
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                                                                                                            Judgment 4
AO 245B (Rev. 06/05) Judgment in a Criminal Case: Sheet 3 - Supervised Release
Defendant: JASON R. KELLEY, , a/k/a Jason Russell Kelley
Case Number: 1:08-CR-00327-002
                                      SUPERVISED RELEASE
                        STANDARD CONDITIONS OF SUPERVISION
1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer and shall submit a truthful and complete written report
        within the first five days of each month;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the
        probation officer;

4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation unless excused by the probation officer for
        schooling, training, or other acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or
        employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or
        administer any controlled substance or any paraphernalia related to any controlled substances, except as
        prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
        administered;

9) the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with
        any person convicted of a felony unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall
        permit confiscation of any contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a
        law enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement
        agency without the permission of the court;

13) as directed by the probation officer, the defendant shall notify third-parties of risks that may be occasioned by
        the defendant's criminal record or personal history or characteristics, and shall permit the probation
        officer to make such notifications and to confirm the defendant's compliance with such notification
        requirement;

14) the defendant shall cooperate, as directed by the probation officer, in the collection of DNA, if applicable,
        under the provisions of 18 U.S.C. §§ 3563(a)(9) and 3583(d) for those defendants convicted of qualifying
        offenses.
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                                                                                                          Judgment 5
AO 245B (Rev. 06/05) Judgment in a Criminal Case: Sheet 5, Part A - Criminal Monetary Penalties
Defendant: JASON R. KELLEY, a/k/a Jason Russell Kelley
Case Number: 1:08-CR-00327-002
                          CRIMINAL MONETARY PENALTIES

       The defendant shall pay the following total criminal monetary penalties in accordance with the
schedule of payments set forth on Sheet 5, Part B.

                              Assessment                     Fine                          Restitution
        Totals:               $12,600.00                     $                             $


        The determination of restitution is deferred until   . An Amended Judgment in a Criminal
        Case (AO 245C) will be entered after such a determination.

If the defendant makes a partial payment, each payee shall receive an approximately proportional
payment unless specified otherwise in the priority order or percentage payment column below. (or see
attached) However, pursuant to 18 U.S.C. § 3644(i), all non-federal victims must be paid in full prior to
the United States receiving payment.

        The defendant shall make restitution (including community restitution) to the following payees
        in the amounts listed below.


Name(s) and                   *Total                         Amount of                     Priority Order or
Address(es) of Payee(s)       Amount of Loss                 Restitution Ordered           % of Payment




TOTALS:                       $                              $


        If applicable, restitution amount ordered pursuant to plea agreement. $
         The defendant shall pay interest on any fine or restitution of more than $2,500, unless the fine or
restitution is paid in full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f).
All of the payment options on Sheet 5, Part B may be subject to penalties for default, pursuant to 18 U.S.C. §
3612(g).


        The court determined that the defendant does not have the ability to pay interest and it is ordered that:
        The interest requirement is waived for the fine and/or        restitution.
        The interest requirement for the       fine and/or      restitution is modified as follows:




* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United
States Code, for offenses committed on or after September 13, 1994 but before April 23, 1996.
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                                                                                                               Judgment 6
AO 245B (Rev. 06/05) Judgment in a Criminal Case: Sheet 5, Part B - Schedule of Payments
Defendant: JASON R. KELLEY, a/k/a Jason Russell Kelley
Case Number: 1:08-CR-00327-002
                                    SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be
due as follows:

A        X  Lump sum payment of $ 12,600.00            due immediately, balance due
            not later than          , or     in accordance with C,       D, E or F below; or
B           Payment to begin immediately (may be combined with C, D, E or F below); or
C          Payment in          (e.g., equal, weekly, monthly, quarterly) installments of $        over a
        period of        (e.g., months or years), to commence           (e.g., 30 or 60 days) after the date
        of this judgment; or
D           Payment in          (e.g., equal, weekly, monthly, quarterly) installments of $        over a
        period of        (e.g., months or years), to commence           (e.g., 30 or 60 days) after release
        from imprisonment to a term of supervision; or
E           Payment during the term of supervised release will commence within            (e.g., 30 or 60
        days) after release from imprisonment. The court will set the payment plan based on an
        assessment of the defendant's ability to ay at that time; or
F           Special instructions regarding the payment of criminal monetary penalties:


Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a
period of imprisonment payment of criminal monetary penalties shall be due during the period of imprisonment.
All criminal monetary penalty payments, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are to be made to the clerk of court, unless otherwise directed by the
court, the probation officer, or the United States attorney.

The defendant will receive credit for all payments previously made toward any criminal monetary penalties
imposed.

        Joint and Several:
        The defendant shall pay the cost of prosecution.
        The defendant shall pay the following court cost(s):
X       The defendant shall forfeit the defendant’s interest in property to the United States as set forth in
the preliminary order of forfeiture entered on 8/25/2010 (Doc 757).

Payments shall be applied in the following order: (1) assessment; (2) restitution principal; (3) restitution interest, (4)
fine principal; (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution
and court costs.
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AO 245B (Rev. 06/05) Judgment in a Criminal Case: Sheet 1A – Additional Counts of Conviction
Defendant: JASON R KELLEY, a/k/a Jason Russell Kelley                                          Judgment - Page 1A
Case Number: 1:08-CR-00327-002

                          ADDITIONAL COUNTS OF CONVICTION
                                                                           Date Offense               Count
Title & Section          Nature of Offense                                 Concluded                  Numbers
21 USC § 841(a)(1)       Unlawful distribution and dispensing              04/11/2005                 2,3
                         of controlled substance.
21 USC § 841(a)(1)       Unlawful distribution and dispensing              05/03/2005                 4
                         of controlled substance.
21 USC § 841(a)(1)       Unlawful distribution and dispensing              12/06/2005                 5,6,7
                         of controlled substance.
21 USC § 841(a)(1)       Unlawful distribution and dispensing              12/13/2005                 8,9
                         of controlled substance.
21 USC § 841(a)(1)       Unlawful distribution and dispensing              01/13/2006                 10,11
                         of controlled substance.
21 USC § 841(a)(1)       Unlawful distribution and dispensing              01/17/2006                 12,13
                         of controlled substance.
21 USC § 841(a)(1)       Unlawful distribution and dispensing              01/27/2006                 14,15
                         of controlled substance.
21 USC § 841(a)(1)       Unlawful distribution and dispensing              04/21/2006                 16,17
                         of controlled substance.
21 USC § 841(a)(1)       Unlawful distribution and dispensing              04/21/2006                 18,19,20
                         of controlled substance.
21 USC § 841(a)(1)       Unlawful distribution and dispensing              05/15/2006                 21,22
                         of controlled substance.
21 USC § 841(a)(1)       Unlawful distribution and dispensing              05/16/2006                 23,24,25
                         of controlled substance.
21 USC § 841(a)(1)       Unlawful distribution and dispensing              07/05/2006                 26,27
                         of controlled substance.
21 USC § 841(a)(1)       Unlawful distribution and dispensing              07/18/2006                 28,29
                         of controlled substance.
21 USC § 841(a)(1)       Unlawful distribution and dispensing              08/16/2006                 30
                         of controlled substance.
21 USC § 841(a)(1)       Unlawful distribution and dispensing              08/21/2006                 31,32
                         of controlled substance.
21 USC § 841(a)(1)       Unlawful distribution and dispensing              02/28/2006                 33,34
                         of controlled substance.
21 USC § 841(a)(1)       Unlawful distribution and dispensing              03/07/2006                 35
                         of controlled substance.
21 USC § 841(a)(1)       Unlawful distribution and dispensing              03/13/2006                 36,37
                         of controlled substance.
21 USC § 841(a)(1)       Unlawful distribution and dispensing              03/28/2006                 38,39
                         of controlled substance.
21 USC § 841(a)(1)       Unlawful distribution and dispensing              04/04/2006                 40-44
                         of controlled substance.
21 USC § 841(a)(1)       Unlawful distribution and dispensing              04/11/2006                 45
                         of controlled substance.
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AO 245B (Rev. 06/05) Judgment in a Criminal Case: Sheet 1A – Additional Counts of Conviction
Defendant: JASON R KELLEY, a/k/a Jason Russell Kelley
Case Number: 1:08-CR-00327-002

                              ADDITIONAL COUNTS OF CONVICTION
                                                                     Date Offense              Count
Title & Section         Nature of Offense                            Concluded                 Numbers
21 USC § 841(a)(1)      Unlawful distribution and dispensing         04/18/2006                46,47,48
                        of controlled substance.
21 USC § 841(a)(1)      Unlawful distribution and dispensing         04/27/2006                49
                        of controlled substance.
21 USC § 841(a)(1)      Unlawful distribution and dispensing         05/25/2006                50
                        of controlled substance.
21 USC § 841(a)(1)      Unlawful distribution and dispensing         06/06/2006                51
                        of controlled substance.
21 USC § 841(a)(1)      Unlawful distribution and dispensing         04/20/2005                52,53
                        of controlled substance.
21 USC § 841(a)(1)      Unlawful distribution and dispensing         04/22/2005                54,55,56
                        of controlled substance.
21 USC § 841(a)(1)      Unlawful distribution and dispensing         04/25/2005                57
                        of controlled substance.
21 USC § 841(a)(1)      Unlawful distribution and dispensing         05/02/2005                58
                        of controlled substance.
21 USC § 841(a)(1)      Unlawful distribution and dispensing         03/31/2004                59-64
                        of controlled substance.
21 USC § 841(a)(1)      Unlawful distribution and dispensing         04/01/2004                65-68
                        of controlled substance.
21 USC § 841(a)(1)      Unlawful distribution and dispensing         04/05/2004                69,70
                        of controlled substance.
21 USC § 841(a)(1)      Unlawful distribution and dispensing         03/30/2004                71-75
                        of controlled substance.
21 USC § 841(a)(1)      Unlawful distribution and dispensing         04/02/2004                76-82
                        of controlled substance.
21 USC § 859            Unlawful distribution of controlled          04/20/2004                83,84
                        substances to a person under 21 years of age.
21 USC § 859            Unlawful distribution of controlled          05/05/2004                85,86
                        substances to a person under 21 years of age.
21 USC § 859            Unlawful distribution of controlled          03/23/2005                88,89
                        substances to a person under 21 years of age.
21 USC § 859            Unlawful distribution of controlled          04/12/2005                90
                        substances to a person under 21 years of age.
21 USC § 859            Unlawful distribution of controlled          04/21/2005                91
                        substances to a person under 21 years of age.
21 USC § 859            Unlawful distribution of controlled          05/02/2005                92
                        substances to a person under 21 years of age.
21 USC § 859            Unlawful distribution of controlled          06/09/2005                93,94
                        substances to a person under 21 years of age.
21 USC § 859            Unlawful distribution of controlled          03/07/2006                95
                        substances to a person under 21 years of age.
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AO 245B (Rev. 06/05) Judgment in a Criminal Case: Sheet 1A – Additional Counts of Conviction
Defendant: JASON R KELLEY, a/k/a Jason Russell Kelley
Case Number: 1:08-CR-00327-002
                       ADDITIONAL COUNTS OF CONVICTION
                                                                                        Date Offense Count
Title & Section                         Nature of Offense                               Concluded
       Numbers
18 USC § 1956(h),                       Conspiracy to commit money laundering.          08/31/2006    96
   1956(a)(1)(A)(i), & 2
18 USC § 1956(a)(1)(A)(i) & 2           Money laundering.                               10/15/2003    99
18 USC § 1956(a)(1)(A)(i) & 2           Money laundering.                               11/11/2003    101
18 USC § 1956(a)(1)(A)(i) & 2           Money laundering.                               12/09/2003    104
18 USC § 1956(a)(1)(A)(i) & 2           Money laundering.                               02/10/2004    109
18 USC § 1956(a)(1)(A)(i) & 2           Money laundering.                               03/17/2004    113
18 USC § 1956(a)(1)(A)(i) & 2           Money laundering.                               04/09/2004    114
18 USC § 1956(a)(1)(A)(i) & 2           Money laundering.                               04/22/2004    117
18 USC § 1956(a)(1)(A)(i) & 2           Money laundering.                               05/14//2004   122
18 USC § 1956(a)(1)(A)(i) & 2           Money laundering.                               06/11/2004    124
18 USC § 1956(a)(1)(A)(i) & 2           Money laundering.                               09/21/2004    132
18 USC § 1956(a)(1)(A)(i) & 2           Money laundering.                               11/19/2004    137
18 USC § 1956(a)(1)(A)(i) & 2           Money laundering.                               12/02/2004    138
18 USC § 1956(a)(1)(A)(i) & 2           Money laundering.                               12/07/2004    140
18 USC § 1956(a)(1)(A)(i) & 2           Money laundering.                               01/13/2005    143
18 USC § 1956(a)(1)(A)(i) & 2           Money laundering.                               02/11/2005    146
18 USC § 1956(a)(1)(A)(i) & 2           Money laundering.                               03/09/2005    149
18 USC § 1956(a)(1)(A)(i) & 2           Money laundering.                               04/10/2005    152
18 USC § 1956(a)(1)(A)(i) & 2           Money laundering.                               05/12/2005    156
18 USC § 1956(a)(1)(A)(i) & 2           Money laundering.                               06/14/2005    158
18 USC § 1956(a)(1)(A)(i) & 2           Money laundering.                               07/13/2005    160
18 USC § 1956(a)(1)(A)(i) & 2           Money laundering.                               10/13/2005    163
18 USC § 1956(a)(1)(A)(i) & 2           Money laundering.                               11/16/2005    167
18 USC § 1956(a)(1)(A)(i) & 2           Money laundering.                               12/15//2005   171
18 USC § 1956(a)(1)(A)(i) & 2           Money laundering.                               01/18/2006    173
18 USC § 1956(a)(1)(A)(i) & 2           Money laundering.                               02/17/2006    176
18 USC § 1956(a)(1)(A)(i) & 2           Money laundering.                               03/02/2006    180
18 USC § 1956(a)(1)(A)(i) & 2           Money laundering.                               04/21/2006    183
18 USC § 1956(a)(1)(A)(i) & 2           Money laundering.                               05/16/2006    187
18 USC § 1956(a)(1)(A)(i) & 2           Money laundering.                               06/06/2006    189
18 USC § 1956(a)(1)(A)(i) & 2           Money laundering.                               07/27/2006    193
18 USC § 1956(a)(1)(A)(i) & 2           Money laundering.                               08/25/2006    196
